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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20                                      )
      WHATSAPP LLC, and
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24
      NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019
28
       Case 4:19-cv-07123-PJH           Document 426         Filed 10/16/24      Page 2 of 3




 1          TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2          PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. move the Court to consider whether

 4   certain portions of their Opposition to the Motion of Third Parties Westbridge Technologies, Josh

 5   Shaner, and Terrance DiVittorio for Clarification (“Plaintiffs’ Opposition”), certain portions of the

 6   Declaration of Micah G. Block in Support of Plaintiffs’ Opposition (the “Block Declaration”), and

 7   the exhibits to the Block Declaration (together, the “Confidential Materials”) should be sealed.

 8          The Confidential Materials contain, refer to, or derive from, documents that Defendants

 9   and/or nonparties Joshua Shaner and Terrence DiVittorio have designated as Highly Confidential-

10   Attorneys’ Eyes Only pursuant to the Stipulated Protective Order (Dkt. No. 132) in the above-cap-

11   tioned action. Accordingly, Plaintiffs now move the Court to consider whether the Confidential

12   Materials should be sealed. See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs specifically reserve the

13   right to challenge any confidentiality designations as well as the sealability of the materials at issue.

14          This motion and copies of any relevant attachments will be served on all non-parties by email,

15   because they have not appeared in this action.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: October 16, 2024                    Respectfully Submitted,

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                                                         Meta Platforms, Inc.
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